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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 ROBERT WHARTON,

                      Petitioner,                     Civil Action

                v.                                    No. 01-cv-6049

 DONALD T. VAUGHN,

                      Respondent.


                                           ORDER

       AND NOW, this 12th day of September, 2022, upon consideration of Respondents’

“Motion to Cancel Hearing and Dismiss Allegations of Sanctionable Conduct” (ECF No. 300),

“Emergency motion to Continue Hearing” (ECF No. 303), and “Response to Order to Show

Cause” (ECF No. 312), and following a hearing held on June 23, 2022, and for the reasons set out

in the accompanying memorandum opinion, it is hereby ORDERED that:

       1.     Respondents’ “Motion to Cancel Hearing and Dismiss Allegations of Sanctionable

Conduct” (ECF No. 300) is DENIED.

       2.     Respondents’ “Emergency motion to Continue Hearing” (ECF No. 303) is

DENIED.

       3.     The District Attorney’s Office of Philadelphia and its attorneys as set forth in the

accompanying memorandum opinion have violated Federal Rule of Civil Procedure 11(c).



                                            BY THE COURT:



                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.

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